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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )       INTERSTATE AGREEMENT ON
                                              )       DETAINERS ORDER
       vs.                                    )
                                              )       Case No.: 1:10-cr-021-03
Michael Paul Streeper,                        )
                                              )
               Defendant.                     )


       On April 22, 2010, Defendant Michael Paul Streeper (“Streeper”) made his               initial

appearance in the above-entitled action and was arraigned. Attorney Julie Lawyer appeared on the

Government's behalf. Assistant Federal Public Defender William Schmidt was appointed as defense

counsel and appeared on Streeper’s behalf.

       Prior to his initial appearance, Streeper was incarcerated by the State of North Dakota at the

North Dakota State Penitentiary (“NDSP”) in Bismarck, North Dakota. After the indictment in this

case was returned and an arrest warrant issued, a detainer was filed by the United States with the

North Dakota prison officials. Pursuant to the Interstate Agreement on Detainers Act (“IADA”),

Streeper’s appearance before this court for his initial appearance and arraignment was secured by

a writ of habeas corpus ad prosequendum.

       During the hearing, Strepper was advised of his rights under the IADA to continued federal

custody until the charges set forth in the indictment are adjudicated. Streeper knowingly,

voluntarily, and upon advice of counsel waived the anti-shuttling provisions of the IADA and

stipulated to his continued housing by the State of North Dakota (the “sending state” under the



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IADA) at the NDSP pending trial of the charges on the indictment by the United States (the

“receiving state” under the IADA).

        Based on Streeper’s waiver of the anti-shuttling provisions of the IADA, IT IS HEREBY

ORDERED that Streeper be housed in the “sending state” under the IADA, at the NDSP pending

trial of this matter or until further order of the court.

        Dated this 22nd day of April, 2010.




                                                 /s/ Charles S. Miller, Jr.
                                                 Charles S. Miller, Jr.
                                                 United States Magistrate Judge




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